Case 1:13-cv-02403-SCJ Document 75-2 Filed 02/13/14 Page 1 of 9



                                

                                

                                

                                


                         Exhibit B
        Case 1:13-cv-02403-SCJ Document 75-2 Filed 02/13/14 Page 2 of 9



                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION


KEITH MILLER, individually and on behalf                    Case No.: 1:13-CV-2403-SCJ
of all other similarly situated individuals,

                      Plaintiffs,
v.

FleetCor Technologies Operating Company, LLC,

                      Defendant.

                               NOTICE OF PENDING LAWSUIT


TO:    Any individual who worked for Defendant FleetCor Technologies Operating
       Company, LLC, in Norcross, Georgia, in the position of “Inside Sales
       Representative” or “Outbound Sales Representative” at any time from December
       15, 2010 to August 1, 2013.

THIS NOTICE AND ITS CONTENT HAS BEEN AUTHORIZED BY THE UNITED STATES
DISTRICT COURT, NORTHERN DISTRICT OF GEORGIA, ATLANTA DIVISION, THE
HONORABLE JUDGE STEVE C. JONES. THE COURT HAS MADE NO DECISION IN
THIS CASE ABOUT THE MERITS OF PLAINTIFFS’ CLAIMS OR DEFENDANT’S
DEFENSES.



                                      INTRODUCTION


         The purpose of this notice is to inform you that an overtime lawsuit exists that you may
join, to advise you of how your rights may be affected by this lawsuit, and to instruct you on the
procedure for participating in this lawsuit, should you choose to do so.

        On July 18, 2013, an action was filed against Defendant, FleetCor Technologies
Operating Company, LLC (“FleetCor”), on behalf of the named Plaintiff, Keith Miller, and
“similarly situated” individuals who worked for FleetCor in Norcross, Georgia, as “Inside Sales
Representatives” or “Outbound Sales Representatives” during the past three years. Specifically,
the action alleges that these individuals are owed overtime compensation under the federal Fair
Labor Standards Act (“FLSA”), 29 U.S.C. § 207, for the overtime hours they worked.

      FleetCor is the defendant in this action and denies the allegations in the Plaintiff’s
complaint. It is FleetCor’s position that its sales representatives received all compensation owed

                                                1
         Case 1:13-cv-02403-SCJ Document 75-2 Filed 02/13/14 Page 3 of 9



to them. FleetCor also claims that it at all times acted in good faith and that it did not violate the
FLSA.

                             YOUR RIGHT TO JOIN THIS CASE

        The United States District Court for Northern District of Georgia has authorized that this
notice be sent to all persons who have potential claims, specifically all current and former Inside
Sales Representatives and Outbound Sales Representatives who worked for FleetCor at any time
from December 15, 2010 to August 1, 2013.

       If you fit the definition above, you are eligible to participate in the lawsuit.

       You may join the lawsuit by mailing, emailing, or faxing the enclosed Plaintiff Consent
Form to Plaintiffs’ Counsel for filing with the Court:

       Nichols Kaster, PLLP
       Attn.: Rachhana T. Srey
       4600 IDS Center, 80 South Eighth Street
       Minneapolis, Minnesota 55402
       Toll-Free Telephone: (877) 448-0492 (no faxes to this number)
       Fax: (612) 215-6870
       Email: forms@nka.com

        The Plaintiff Consent Form must be postmarked on or before [DATE - 60 days from
mailing] in order for you to participate. You are eligible to join this case even if you received a
salary.

                              EFFECT OF JOINING THIS CASE


       If you choose to join this lawsuit, your interests will be represented by Plaintiffs’
Counsel, Nichols Kaster, PLLP. You also designate Plaintiffs’ Counsel to make decisions
regarding the course of the lawsuit and any settlement discussions in connection with this
lawsuit. Unless you later withdraw or the Court later determines that you and the other
employee who join this case are not “similarly situated,” you will be bound by any ruling or
judgment by the Court, whether favorable or unfavorable. If you choose to join this case, you
might be required to provide information or otherwise participate in the litigation.

        Plaintiffs’ Counsel has taken this case on a contingency fee basis. This means that they
will only be paid if there is a monetary recovery through a settlement, judgment, or jury award in
your favor. If there is a recovery, Plaintiffs’ Counsel will receive a part of any money judgment
or settlement obtained in your favor. You will not have to pay Plaintiffs’ Counsel out of your
own pocket. The details will be fully outlined in a separate fee agreement with Plaintiffs’
Counsel that will be sent to you if you decide to join this case.

                                     STATUTE OF LIMITATIONS
                                             2
        Case 1:13-cv-02403-SCJ Document 75-2 Filed 02/13/14 Page 4 of 9



        The FLSA has a maximum statute of limitations of three years. If you choose to join this
lawsuit, or choose to bring your own action, you may be able to recover money damages if you
were improperly denied overtime compensation during weeks where you worked over 40 hours
within three years of the date prior to the date you file your “Opt-In Plaintiff Consent Form.” If
you choose not to join in this action, or file your own action, some or all of your potential claims
may later be barred by the statute of limitations.


                              NO RETALIATION PERMITTED

       Federal law prohibits retaliation against employees for exercising their rights under
the FLSA. Therefore, FleetCor is prohibited from firing you or retaliating against you in
any other manner because you choose to participate in this lawsuit.




                                                 3
        Case 1:13-cv-02403-SCJ Document 75-2 Filed 02/13/14 Page 5 of 9



______________________________________________________________________________

           FLEETCOR TECHNOLOGIES OPERATING COMPANY, LLC
                         PLAINTIFF CONSENT FORM
______________________________________________________________________________

1.     I consent to make a claim under the Fair Labor Standards Act, 29 U.S.C. § 201, et seq.
against my current/former employer, FleetCor Technologies Operating Company, LLC
(“FleetCor), to recover overtime pay.

2.     During the past three years, there were occasions when I worked over 40 hours per week
as an inside sales representative or outbound sales representative for FleetCor, and did not
receive proper compensation for all of my hours worked, including overtime pay.

3.      I understand that I may withdraw my consent to proceed with my claims at any time by
notifying the attorneys handling the matter.

Date: ___________________            ____________________________________
                                     Signature
                                     ____________________________________
                                     Print Name
______________________________________________________________________________
               No Information Included Below Will Be Filed With the Court
                         Please Print or Type Your Contact Information


Address: ___________________________________________________________
             Number                  City              State                         Zip
Code


Best Phone Number: ________________________________________________


Email: ___________________________________________________________

Return this form by           Nichols Kaster, PLLP, Attn: Rachhana T. Srey
fax, email or mail to:        Fax: (612) 215-6870
                              Email: forms@nka.com
                              Address: 4600 IDS Center, 80 S. 8th St.
                              Minneapolis, MN 55402
                              Web: www.nka.com




 THIS PLAINTIFF CONSENT FORM MUST BE RETURNED OR POSTMARKED ON OR
         BEFORE [DATE], IN ORDER TO PARTICIPATE IN THE LAWSUIT.
        Case 1:13-cv-02403-SCJ Document 75-2 Filed 02/13/14 Page 6 of 9



                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION


KEITH MILLER, individually and on behalf                    Case No.: 1:13-CV-2403-SCJ
of all other similarly situated individuals,

                      Plaintiffs,
v.

FleetCor Technologies Operating Company, LLC,

                      Defendant.

                               NOTICE OF PENDING LAWSUIT


TO:    Any individual who worked for Defendant FleetCor Technologies Operating
       Company, LLC, in Norcross, Georgia, in the position of “Inside Sales
       Representative” or “Outbound Sales Representative” at any time from December
       15, 2010 to August 1, 2013.

THIS NOTICE AND ITS CONTENT HAS BEEN AUTHORIZED BY THE UNITED STATES
DISTRICT COURT, NORTHERN DISTRICT OF GEORGIA, ATLANTA DIVISION, THE
HONORABLE JUDGE STEVE C. JONES. THE COURT HAS MADE NO DECISION IN
THIS CASE ABOUT THE MERITS OF PLAINTIFFS’ CLAIMS OR DEFENDANT’S
DEFENSES.



                                      INTRODUCTION


         The purpose of this notice is to inform you that an overtime lawsuit exists that you may
join, to advise you of how your rights may be affected by this lawsuit, and to instruct you on the
procedure for participating in this lawsuit, should you choose to do so.

        On July 18, 2013, an action was filed against Defendant, FleetCor Technologies
Operating Company, LLC (“FleetCor”), on behalf of the named Plaintiff, Keith Miller, and
“similarly situated” individuals who worked for FleetCor in Norcross, Georgia, as “Inside Sales
Representatives” or “Outbound Sales Representatives” during the past three years. Specifically,
the action alleges that these individuals are owed overtime compensation under the federal Fair
Labor Standards Act (“FLSA”), 29 U.S.C. § 207, for the overtime hours they worked.

      FleetCor is the defendant in this action and denies the allegations in the Plaintiff’s
complaint. It is FleetCor’s position that its sales representatives received all compensation owed

                                                1
         Case 1:13-cv-02403-SCJ Document 75-2 Filed 02/13/14 Page 7 of 9



to them. FleetCor also claims that it at all times acted in good faith and that it did not violate the
FLSA. and maintains that these individuals were properly paid in accordance with federal law
and that its sales representatives are not “similarly situated.”

                             YOUR RIGHT TO JOIN THIS CASE

        The United States District Court for Northern District of Georgia has authorized that this
notice be sent to all persons who have potential claims, specifically all current and former Inside
Sales Representatives and Outbound Sales Representatives who worked for FleetCor at any time
from December 15, 2010 to August 1, 2013.

       If you fit the definition above, you are eligible to participate in the lawsuit.

       You may join the lawsuit by mailing, emailing, or faxing the enclosed Plaintiff Consent
Form to Plaintiffs’ Counsel for filing with the Court:

       Nichols Kaster, PLLP
       Attn.: Rachhana T. Srey
       4600 IDS Center, 80 South Eighth Street
       Minneapolis, Minnesota 55402
       Toll-Free Telephone: (877) 448-0492 (no faxes to this number)
       Fax: (612) 215-6870
       Email: forms@nka.com

        The Plaintiff Consent Form must be postmarked on or before [DATE - 60 days from
mailing] in order for you to participate. You are eligible to join this case even if you received a
salary.

                              EFFECT OF JOINING THIS CASE


       If you choose to join this lawsuit, your interests will be represented by Plaintiffs’
Counsel, Nichols Kaster, PLLP. You also designate Plaintiffs’ Counsel to make decisions
regarding the course of the lawsuit and any settlement discussions in connection with this
lawsuit. Unless you later withdraw or the Court later determines that you and the other
employee who join this case are not “similarly situated,” you will be bound by any ruling or
judgment by the Court, whether favorable or unfavorable. If you choose to join this case, you
might be required to provide information or otherwise participate in the litigation.

        Plaintiffs’ Counsel has taken this case on a contingency fee basis. This means that they
will only be paid if there is a monetary recovery through a settlement, judgment, or jury award in
your favor. If there is a recovery, Plaintiffs’ Counsel will receive a part of any money judgment
or settlement obtained in your favor. You will not have to pay Plaintiffs’ Counsel out of your
own pocket. The details will be fully outlined in a separate fee agreement with Plaintiffs’
Counsel that will be sent to you if you decide to join this case.

                                                  2
         Case 1:13-cv-02403-SCJ Document 75-2 Filed 02/13/14 Page 8 of 9




        The FLSA has a maximum statute
                                     STATUTE of limitations of three years. If you choose to join this
                                                   OF LIMITATIONS
lawsuit, or choose to bring your own action, you may be able to recover money damages if you
were improperly denied overtime compensation during weeks where you worked over 40 hours
within three years of the date prior to the date you file your “Opt-In Plaintiff Consent Form.” If
you choose not to join in this action, or file your own action, some or all of your potential claims
may later be barred by the statute of limitations.


                               NO RETALIATION PERMITTED

       Federal law prohibits retaliation against employees for exercising their rights under
the FLSA. Therefore, FleetCor is prohibited from firing you or retaliating against you in
any other manner because you choose to participate in this lawsuit.

THIS NOTICE AND ITS CONTENT HAS BEEN AUTHORIZED BY THE UNITED STATES
DISTRICT COURT, NORTHERN DISTRICT OF GEORGIA, ATLANTA DIVISION, THE
HONORABLE JUDGE STEVE C. JONES. THE COURT HAS MADE NO DECISION IN
THIS CASE ABOUT THE MERITS OF PLAINTIFFS’ CLAIMS OR DEFENDANT’S
DEFENSES.




                                                  3
        Case 1:13-cv-02403-SCJ Document 75-2 Filed 02/13/14 Page 9 of 9



______________________________________________________________________________

           FLEETCOR TECHNOLOGIES OPERATING COMPANY, LLC
                         PLAINTIFF CONSENT FORM
______________________________________________________________________________

1.     I consent to make a claim under the Fair Labor Standards Act, 29 U.S.C. § 201, et seq.
against my current/former employer, FleetCor Technologies Operating Company, LLC
(“FleetCor), to recover overtime pay.

2.     During the past three years, there were occasions when I worked over 40 hours per week
as an inside sales representative or outbound sales representative for FleetCor, and did not
receive proper compensation for all of my hours worked, including overtime pay.

3.      I understand that I may withdraw my consent to proceed with my claims at any time by
notifying the attorneys handling the matter.

Date: ___________________            ____________________________________
                                     Signature
                                     ____________________________________
                                     Print Name
______________________________________________________________________________
               No Information Included Below Will Be Filed With the Court
                         Please Print or Type Your Contact Information


Address: ___________________________________________________________
             Number                  City              State                         Zip
Code


Best Phone Number: ________________________________________________


Email: ___________________________________________________________

Return this form by           Nichols Kaster, PLLP, Attn: Rachhana T. Srey
fax, email or mail to:        Fax: (612) 215-6870
                              Email: forms@nka.com
                              Address: 4600 IDS Center, 80 S. 8th St.
                              Minneapolis, MN 55402
                              Web: www.nka.com




 THIS PLAINTIFF CONSENT FORM MUST BE RETURNED OR POSTMARKED ON OR
         BEFORE [DATE], IN ORDER TO PARTICIPATE IN THE LAWSUIT.
